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 1   JAMES A. ORONOZ, ESQ.
     Nevada Bar No. 6769
 2   ORONOZ & ERICSSON, L.L.C.
 3   700 SOUTH 3RD STREET
     Las Vegas, Nevada 89101
 4   Telephone: (702) 878-2889
     Facsimile: (702) 522-1542
 5   jim@oronozlawyers.com
 6   Attorney for Defendant

 7                           UNITED STATES DISTRICT COURT
 8                                 DISTRICT OF NEVADA
 9
                                                    )
10                                                  )
     UNITED STATES OF AMERICA,                      )
11                                                  )   2:12-CR-0082-MMD-VCF
                    Plaintiff,                      )
12                                                  )   UNOPPOSED MOTION TO CONDUCT A
                    vs.                             )   PRE-PLEA PRESENTENCE
13                                                  )   INVESTIGATION REPORT AND
     NAVAZ DOWLING,                                 )   PROPOSED ORDER
14                                                  )
                    Defendant.                      )
15                                                  )
                                                    )
16                                                  )

17          COMES NOW, defendant, NAVAZ DOWLING, by and through his counsel, JAMES
18   A. ORONOZ, ESQ., and hereby moves this Court for an Order granting the instant motion for
19   a Pre-Plea Presentence Investigation Report to be prepared by the United States Department of
20   Parole and Probation.
21          1.     It is counsel’s understanding that Mr. Dowling has been convicted of a felony
22   offense outside of Nevada. Counsel is unaware of any additional convictions. Accordingly,
23   counsel believes that Mr. Dowling has a Criminal History Category of I. Mr. Dowling’s
24   Criminal History Category will drastically impact his sentencing exposure, negotiations, and
25   his decision as to how he should proceed in this matter. A pre-plea presentence investigation
26   report will promote judicial economy and aid in the manner in which this case is timely
27   resolved.
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 1          2.      Therefore, undersigned counsel respectfully requests this Court issue an Order
 2   directing the United States Department of Parole & Probation to conduct a pre-plea
 3   presentence investigation report as soon as possible.
 4          3.      Undersigned counsel has spoken to the prosecutor, Assistant United States
 5   Attorney Kimberly Frayn, regarding this request and she has no opposition.
 6
 7   DATED this 8th day of August, 2012.
 8
                                                                  /s/ James A. Oronoz       .
 9                                                                JAMES A. ORONOZ, Esq.
10                                                                700 South 3rd Street
                                                                  Las Vegas, NV 89101
11                                                                Counsel for Navaz Dowling
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 1
                            UNITED STATES DISTRICT COURT
 2
 3                                DISTRICT OF NEVADA

 4                                                 )
                                                   )
 5   UNITED STATES OF AMERICA,                     )
                                                   ) 2:12-CR-0082-MMD-VCF
 6                 Plaintiff,                      )
                                                   )
 7                 vs.                             )
                                                   ) ORDER
 8   NAVAZ DOWLING,                                )
                                                   )
 9                 Defendant.                      )
                                                   )
10                                                 )
                                                   )
11
12          IT IS HEREBY ORDERED that that the United States Department of Parole and
13
     Probation will prepare a Pre-Plea Pre-Sentence Investigation Report on Defendant Navaz
14
     Dowling.
15
                        8th
16          DATED this _____ day of August, 2012.

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                                                    ________________________________
18                                                  UNITED STATES DISTRICT JUDGE
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 1                      CERTIFICATE OF ELECTRONIC SERVICE
 2          The undersigned hereby certifies that I am an employee of Oronoz & Ericsson
 3
     L.L.C. and is a person of such age and discretion as to be competent to serve papers.
 4
            That on August 8, 2012, I served an electronic copy of the above and foregoing
 5
 6   UNOPPOSED MOTION TO CONDUCT A PRE-PLEA PRESENTENCE

 7   INVESTIGATION REPORT AND PROPOSED ORDER by electronic service (ECF) to
 8
     the person(s) named below:
 9
                            DANIEL G. BOGDEN
10                          United States Attorney
                            333 Las Vegas Blvd. South, #5000
11
                            Las Vegas, NV 89101
12                          Counsel for United States

13                          KIMBERLY FRAYN
14                          Assistant United States Attorney
                            333 Las Vegas Blvd. South, #5000
15                          Las Vegas, NV 89101
                            Counsel for United States
16
17
18                                                /s/  Lucas Gaffney, Esq.          x
                                                  Employee of Oronoz & Ericsson L.L.C.
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